                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,                                 Case No. 16-cr-51-pp

                    Plaintiff,

v.

STEPHEN FELTON,

                  Defendant.
______________________________________________________________________________

  ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS (DKT. NO. 37)
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        On June 17, 2016, the defendant filed a motion to suppress evidence

obtained from the installation of a GPS tracking device on his SUV. Dkt. No.

37. The basis for the defendant’s argument was that, while the warrant to

install the GPS was issued by a Wisconsin judge based on probable cause

alleging violations of Wisconsin law, the search was “federal in character,” and

therefore subject to the requirements of Fed. R. Crim. P. 41. The parties fully

briefed the motion, and on July 6, 2016, Judge Joseph recommended that this

court deny the motion to suppress. The court denies the motion.

Facts

        Judge Joseph laid out the following facts in her report and

recommendation (and the defendant does not dispute those facts—see Dkt. No.

41 at 1, 4):

           A criminal complaint was issued in Milwaukee County Circuit
        Court on March 15, 2016, charging Felton with one count of armed
        robbery, one count of being a felon in possession of a firearm, and
        one count of conspiracy to rob a financial institution. (Def.’s Br. At
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      1, Docket #37.) On March 24, 2016, Felton’s state case was
      dismissed on the State’s motion and a criminal complaint was
      issued in the Eastern District of Wisconsin. (Id.) The eleven page
      affidavit in support of the criminal complaint alleges armed
      carjackings of two vehicles in Milwaukee and armed robberies of
      two banks in Wauwatosa in January and February of 2016. (Id.)

          During the investigation of the robberies, law enforcement
      identified several unknown suspects and a black 1998 Ford
      Expedition with Wisconsin license plate number 975-YLG as being
      associated with one of the carjackings and two of the bank
      robberies. (Id. at 1-2.) On February 24, 2016, a Wauwatosa Police
      Department officer applied for and obtained from the Milwaukee
      County Circuit Court a 60-day order to install, monitor, maintain,
      and retrieve a global positioning system (“GPS”) tracking device for
      the black Ford Expedition belonging to Felton. (Id. at 2.) The GPS
      unit was installed onto Felton’s Expedition sometime in late
      February 2016. (Id.) Law enforcement used the data obtained from
      the GPS tracking device on the Expedition to link the Expedition to
      an attempted armed robbery of another bank and the armed
      robbery of a store, both of which occurred on March 10, 2016 in
      Milwaukee and involved four unknown suspects. (Id. at 2-3.)

          The GPS data also showed the Expedition arriving at an
      apartment complex in Milwaukee shortly after the robbery of the
      store on March 10, 2016. (Id. at 3.) Surveillance footage from the
      apartment complex identified the four suspects from the store
      robbery arriving at the same time in the Expedition. (Id.) One of the
      suspects was living in apartment 218. (Id.)

          Law enforcement eventually entered the apartment and
      arrested Felton and three others. (Id.) Felton and the others were
      identified as the suspects involved in the robberies. (Id.) The
      Expedition was searched and evidence implicating Felton in the
      robberies was seized by the police. (Id.) Felton also made a post-
      arrest, Mirandized statement, during which he admitted to
      ownership of the Expedition and that he participated in the above-
      referenced robberies. (Id.)

Dkt. No. 40 at 2-3.

      The defendant attached a copy of the application for the warrant to his

motion to suppress. Dkt. No. 37-1. The application shows that the person who

applied for the warrant was a Milwaukee County Assistant District Attorney. Id.
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at 1. The warrant proposed that members of the Wauwatosa Police Department

would install the GPS tracking device. Id. at 2. The affidavit in support of the

warrant was sworn to by a Wauwatosa Police Department detective. Id. at 3.

The Milwaukee County Court Commissioner’s order authorized officers or

detectives of the Wauwatosa Police Department to install the device and to

track it. Id. at 4.

       In its response to the motion to suppress, the government stated the

following:

       It was local police through the Milwaukee County District
       Attorney’s Office, not the FBI, that requested the GPS and seal
       orders from state court. Although the FBI was involved in the
       investigation, it was not directing local police, and it did not
       request the GPS order for Felton’s vehicle. Furthermore, the
       installation and monitoring of the GPS unit was controlled
       completely by local police. Thus, these facts support the
       conclusion that the installation and monitoring of the GPS unit
       was a state search rather than a “federal search.” However, the
       distinction is irrelevant in the analysis of whether the GPS order
       was valid.

Dkt. No. 38 at 3 n.1.

Argument that the Warrant Did Not Comply with Rule 41

       The defendant’s first argument is that the court should suppress the

evidence that resulted from the installation of the GPS device because the

Milwaukee County Court Commissioner’s installation order—the “warrant”—

did not comply with Fed. R. Crim. P. 41. Why would a search warrant

requested by a local prosecutor, supported by an affidavit from a local police

detective, alleging violations of Wisconsin law, and issued by a local judicial

officer, need to comply with the requirements of a federal procedural rule? The


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defendant argues, both in the suppression motion and in his objection to

Judge Joseph’s report and recommendation, that the installation of the GPS

tracking device was “federal in character,” presumably because the government

conceded that the FBI was “involved in the investigation” and because, nine

days after the defendant was charged in Milwaukee County, those charges were

dismissed, and he was charged federally. Accordingly, the defendant argues,

the warrant was subject to the requirements of Rule 41.

      In support of his argument that the search was “federal in character,”

and thus was subject to the procedural requirements of the federal warrant

rule, the defendant cites United States v. Harrington, 504 F.2d 130 (7th Cir.

1974). The appellant in Harrington argued that the district court should have

suppressed the evidence in his case, because both state and federal authorities

were involved in the search and thus the warrant had to comply with Rule 41.

Id. at 133-134. The appellant argued that the state-issued warrant did not

comply with Rule 41. Id. The Harrington court rejected the argument that the

warrant had to comply with all of the requirements of Rule 41, and affirmed the

district court’s denial of the appellant’s motion to suppress. Id. at 133-4.

      In conducting the analysis that brought it to that conclusion, however,

the court “assume[d] that [the search] was a federal search,” because while

local law enforcement had conducted the search, “the chief investigator of [the

federal Drug Abuse Law Enforcement program] and an Assistant United States

Attorney were present at the search as observers.” Id. at 133. The court also

based its assumption on the fact that “the search ultimately resulted in a


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federal indictment and the state proceedings were dismissed when the federal

indictment was returned . . . .” Id.

      While he concurred with the conclusion that the district court correctly

denied the motion to suppress, Judge Fairchild filed a brief separate

concurrence which stated, “I do not deem that the presence of federal officers

or the cooperative nature of the enforcement effort requires that the warrant

and search in this case fulfill Rule 41, F.R. Cr. P. It is enough, in my opinion,

that the search, which presumably fulfilled state law requirements, complied

with federal constitutional requirements.” Id. at 134.

      In assuming that the search was federal because of the involvement of

federal officers and the resulting federal charges, the Harrington majority noted

that the Fifth Circuit had reached a similar conclusion under similar

circumstances, citing United States v. Sellers, 483 F.2d 37, 42 (5th Cir. 1973),

cert. den., 417 U.S. 908 (1974). In Sellers, the appellants had argued that “the

fruits of the search, conducted under authority of the warrant issued by an

Alabama judge on a probable cause showing a breach of Alabama law, but not

federal law, are not admissible in a federal prosecution.” Sellers, 483 F.2d at

41-42. The Sellers court stated, “This somewhat startling contention is based

on the premise that the federal involvement in this particular search made it

equivalent to a federal search and thus subjected it to the technical

requirements of Rule 41 of the Federal Rules of Criminal Procedure . . . .” Id. at

42. The Sellers court rejected the argument that the evidence which was

recovered as a result of the execution of the warrant was inadmissible.


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      In order to reach the admissibility argument, however, the court stated,

“Despite the government’s contention that the fact is otherwise, we assume for

the purpose of this decision that there was sufficient federal involvement to

require that the search be treated as a federal search.” Id. at 42. The court then

dropped a footnote which explained,

      [t]he proof discloses that the informant [who provided the
      information that provided probable cause for the warrant] was an
      active federal official and that this informant and one other such
      official accompanied state officers to the premises and participated
      in certain phases of the search process. After a successful state
      prosecution based upon the evidence disclosed by the search, the
      instant federal charges were filed.

Id. at 42 n.4.

      This court finds that the defendant’s reliance on the Harrington majority

assumption, and on Sellers, is misplaced. First, neither the Harrington court

nor the Sellers court did what the defendant invites this court to do—suppress

evidence recovered under a state warrant because that warrant did not comply

with the requirements of Rule 41. Indeed, both courts declined to impose a rule

that would “require that state court warrants meet all of the Rule 41

procedural requirements whenever federal officers have sufficient evidence of

federal law violations to obtain a federal warrant.” Sellers, 483 F.2d at 44.

      Second, it appears that the portion of Sellers upon which the defendant

relies is no longer good law. In United States v. McKeever, 905 F.2d 829, 830

(5th Cir. 1990), the Fifth Circuit, sitting en banc, reversed the district court’s

conclusion that the Rule 41(a) court-of-record requirement applied when a

federal search was executed pursuant to a state warrant. In reaching its


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decision, the district court had relied—as does the defendant here—on Sellers.

Id. Reversing the lower court’s decision in McKeever, the Fifth Circuit stated,

“We conclude that Fed. R. Crim. P. 41 only applies to warrants issued ‘upon

the request of a federal law enforcement officer or an attorney for the

government.’ To the extent that Navarro [v. United States], 400 F.2d 315 [(5th

Cir. 1968)], Sellers, 483 F.2d 37; and [United States v. ] Martin, 600 F.2d 1175

[(5th Cir. 1979)], indicate to the contrary, they are overruled.” McKeever, 905

F.2d at 833.

      Third, the defendant ignores the fact that, thirteen years after the

Harrington decision, and almost thirty years before the search that resulted in

the defendant’s prosecution, the Seventh Circuit addressed, and rejected, the

argument he makes in this case. In United States v. Hornick, 815 F.2d 1156,

1157 (7th Cir. 1987), the defendant was “[c]aught at the airport with more than

250 grams of cocaine in his boots.” He filed a motion to suppress the cocaine,

arguing that because a federal agent went with the state officers who executed

the search warrant at the airport, “federal participation requires a federal

warrant,” and the warrant executed in his case—“issued by a Wisconsin judge

to Wisconsin officials”—did not comply with Rule 41. Id. at 1158. Hornick

argued that the Wisconsin warrant failed to comply with Rule 41 in several

respects. Id.

      As indicated above, the Seventh Circuit rejected this argument. The court

stated (as the government pointed out in both its response to the defendant’s




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motion to suppress and in its response to his objection to Judge Joseph’s

report and recommendation):

      It should be clear after United States v. Leon, 468 U.S. 897 . . .
      (1984), that technical defects in a warrant do not call for or permit
      exclusion of what the search produces. Judge Friendly’s thorough
      opinion in United States v. Burke, 517 F.2d 377 (2d Cir. 1975),
      discusses the extent to which suppression of evidence is the proper
      response to violations of Rule 41. Our own cases, roughly
      contemporaneous with Burke, say that foibles in the
      administration of Rule 41 are not grounds for exclusion. United
      States v. Jones, 518 F.2d 384, 387-88 (7th Cir. 1975); United
      States v. Harrington, 504 F.2d 130 (7th Cir. 1974). In light of Leon,
      it is difficult to anticipate any violation of Rule 41, short of a defect
      that also offends the Warrant Clause of the fourth amendment,
      that would call for suppression. Many remedies may be
      appropriate for deliberate violations of the rules, but freedom for
      the offender is not among them.

Id.

      In Hornick, the Seventh Circuit confirmed Judge Fairchild’s view,

expressed in his concurrence in Harrington, that the question of whether the

warrant complied with Rule 41 is “largely irrelevant,” unless the alleged failure

to comply with the rule “violated any of [the defendant’s] constitutional rights.”

United States v. Patrick, Case No. 13-cr-234, 2015 WL 106158 at *4 (E.D. Wis.

Jan. 7, 2015). For that reason, this court rejects the defendant’s argument that

the court must suppress the evidence produced by the GPS monitor because

the warrant did not comply with the requirements of Rule 41.

Argument that the Warrant Violated the Fourth Amendment’s Warrant
Clause

       In her report and recommendation, Judge Joseph also analyzed the

constitutionality of the warrant under the Fourth Amendment, in response to



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the defendant’s statement in the motion that “Rule 41’s tracking-device

warrant statutory requirements are the codification of constitutional norms

against unreasonable searches and seizures.” Dkt. No. 37 at 6. Judge Joseph

found that the warrant met the requirements of the Fourth Amendment’s

warrant clause—it was issued by a neutral and disinterested judicial officer

(Milwaukee County Court Commissioner Barry Phillips), Dkt. No. 37-1 at 4; it

particularly described the information to be seized (GPS tracking data) from a

specific vehicle (the 1998 Ford Expedition SUV bearing registration 975-YLG

and vehicle identification number 1FMPU18L8WLA14612); and the warrant

application provided probable cause to believe that that vehicle had been used

in the commission of two robberies (Dkt. No. 37-1 at 6). See Dalia v. United

States, 441 U.S. 238, 255 (1979).

      In his objection to Judge Joseph’s recommendation, the defendant

expanded on the one-sentence assertion he’d made in the motion to dismiss. In

the objection, the defendant argued that when analyzing the constitutionality

under the Fourth Amendment of a warrant for a GPS tracking device—which,

he argues, is not a warrant to search a physical space—the court should look

at the “duration for which the search itself can continue.” Dkt. No. 41 at 7. The

defendant points this court to Justice Alito’s concurring opinion in United

States v. Jones, ___ U.S. ___, 132 S. Ct. 945 (2012). In Jones, Justice Scalia,

writing for the majority, held that the installation of a GPS tracking device on a

vehicle constituted a physical occupation of private property, and thus was

subject to the warrant requirement. Id. at 949. Justice Sotomayor wrote a


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concurring opinion, expressing concern that “longer term GPS monitoring in

investigations of most offenses impinges on expectations of privacy.” Id. at 955

(citation omitted). She did not define the phrase “longer term GPS monitoring.”

      Justices Alito, Ginsberg, Breyer and Kagan concurred in the judgment,

with Justice Alito writing. Justice Alito criticized the majority’s reasoning, and

expressed the view that Justice Scalia’s trespass theory “largely disregards

what is really important (the use of a GPS for the purpose of long-term

tracking) . . . .” Id. at 961. Justice Alito conceded that “relatively short-term

monitoring of a person’s movements on public streets accords with

expectations of privacy that our society has recognized as reasonable.” Id. at

964 (citation omitted). He opined, however, that “[w]e need not identify with

precision the point at which the tracking of this vehicle became a search for the

line was surely crossed before the 4-week mark.” Id.

      The defendant argues, based on the above language in Justice Alito’s

concurrence, that this court should hold (a) that the question of whether a GPS

warrant violates the Fourth Amendment should be based on the duration of the

monitoring period, and (b) that monitoring periods of longer than four weeks

(including the eight-week period authorized by the warrant in his case) violate

the Fourth Amendment.

      The court will not so hold. Justice Alito’s concurring opinion in Jones is

not binding precedent, and to the court’s knowledge, the Seventh Circuit has

not yet adopted Justice Alito’s reasoning as governing circuit law. See, United

States v. Brown, 744 F.3d 474, 476 (7th Cir. 2014) (explaining that the Jones


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court did not hold “—though five Justices suggested in concurring opinions—

that monitoring a car’s location for an extended period of time is a search even

if the car’s owner consents to installation of the GPS unit . . . .”) Further, the

defendant raised this argument, in this fashion, in his objection to Judge

Joseph’s report and recommendation; the government did not have a chance to

fully brief this particular argument before Judge Joseph, and the issue has not

been fully briefed before this court. Finally, as the government argues in its

response to the defendant’s objection, the Supreme Court’s decision in Leon

provides an exception to the requirement of suppression when officers rely, in

good faith, on the judicial officer’s issuance of the warrant, unless “the officer

[had] no reasonable grounds for believing that the warrant was properly

issued.” Leon, 468 U.S. at 922-923. The record reveals no reason that the

officers who installed the GPS device and monitored it for sixty days had any

grounds to believe that the court commissioner did not properly issue the

warrant.

Conclusion

      The court DENIES the defendant’s motion to suppress. Dkt. No. 37.

      Dated in Milwaukee, Wisconsin this 2nd day of August, 2016.




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